                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE

  UNITED STATES OF AMERICA,                    )
                                               )
               Plaintiff,                      )
                                               )
  v.                                           )    No.:   3:19-CR-120-TAV-HBG
                                               )
  JAMES LEE MELTON,                            )
                                               )
               Defendant.                      )

                                          ORDER

         This criminal matter is before the Court on the Report and Recommendation

  (“R&R”) entered by United States Magistrate H. Bruce Guyton on May 14, 2020 [Doc.

  27].   Judge Guyton recommends that the defendant’s Motion for Release: Changed

  Circumstances [Doc. 14] be denied and that defendant remain detained pending his

  sentencing in this matter. There have been no timely objections filed to the R&R. See 28

  U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b)(2).

         After carefully reviewing the matter, the Court agrees with Judge Guyton’s

  recommendation and reasoning, which the Court adopts and incorporates into its ruling.

  Accordingly, the Court ACCEPTS IN WHOLE the R&R [Doc. 27] pursuant to 28

  U.S.C. § 636(b)(1). The defendant’s Motion for Release: Changed Circumstances [Doc.

  14] is DENIED, and defendant shall remain detained pending his sentencing.

         IT IS SO ORDERED.


                                    s/ Thomas A. Varlan
                                    UNITED STATES DISTRICT JUDGE



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